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                                                                                                                   02/10/2015 04:51:46pm
                                        UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS
                                                MCALLEN DIVISION
IN RE:                                                                           CASE NO:       14-70685-M-13
Norma Lee Munoz


                                                Uniform Plan
                                                     and
                                      Motion for Valuation of Collateral
                                                  FIRST AMENDED 2/10/2015
                                                       CHAPTER 13 PLAN
                                         Date of Plan:            2/10/2015
                                      (Date Must be Date that This Plan is Signed by Debtors)
The Debtor(s) propose the following plan pursuant to § 1321*.

In conjunction with the plan, the Debtor(s) move for the valuation of secured claims in the amount set forth in paragraph 8.
The Debtor(s) propose to pay the holder of the Secured Claim only the amounts set forth in the Debtor(s)' Plan. The Court
will conduct a scheduling conference on this contested matter on the date set for the hearing on confirmation of the
Debtor(s)' plan. You must file a response in writing not less than 5 days (including weekends and holidays) before the
hearing on confirmation of the plan or the valuation set forth in the plan may be adopted by the Court. If no response is filed,
the Debtor(s)' sworn declaration at the conclusion of this plan may be submitted as summary evidence at the hearing
pursuant to Rule 7056 and 28 U.S.C. § 1746. If no timely answer is filed, the Court may conduct a final hearing on the
objection at the hearing on confirmation of the plan.

1. Payments. The Debtor(s) submit all or such portion of their future earnings and other future income to the supervision and
control of the chapter 13 Trustee ("Trustee") as is necessary for the execution of the plan. The amount, frequency, and duration
of the payments, are as follows:


            Beginning Month**              Ending Month                 Amount of                        Total
                                                                      Monthly Payment
                1 (Jan 2015)                1 (Jan 2015)                          $540.00                      $540.00
                2 (Feb 2015)               47 (Nov 2018)                          $560.00                    $25,760.00
               48 (Dec 2018)               60 (Dec 2019)                          $793.00                    $10,309.00
                                                                              Grand Total:                   $36,609.00
The first monthly payment is due not later than 30 days after the date this case was filed. If the payments to be made by the
chapter 13 trustee pursuant to paragraph 4 are adjusted in accordance with the Home Mortgage Payment Procedures adopted
pursuant to Bankruptcy Local Rule 3015(b) (whether on account of a change in any escrow requirement, a change in the
applicable interest rate under an adjustable rate mortgage, or otherwise), the Debtor(s)' payments required by this paragraph 1
will be automatically increased or decreased by (i) the amount of the increase or decrease in the paragraph 4 payments; and
(ii) the amount of the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change. The Posted
Chapter 13 Trustee Fee is the percentage fee posted on the Court's web site from time to time. The chapter 13 trustee is
authorized to submit an amended wage withholding order or to amend any automated bank draft procedure to satisfy the
automatic increase or decrease.

A notice of any adjustment in the payment amount must be filed by the chapter 13 trustee.

Except as otherwise ordered by the Court, payments to the chapter 13 trustee will be made pursuant to a wage withholding
order, an EFT Order or an ACH Order. Local Rule 1007(d) determines the payment form that is required from time-to-time.




* All § references are to the Bankruptcy Code and Bankruptcy Rules unless otherwise cited.
** When subsequent tables refer to "Month #", Month #1 is the Beginning Month referenced above.
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Debtor(s):   Norma Lee Munoz


2. Priority Claims. From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in full, all claims entitled to
priority under § 507. Payments shall be made in the order of priority set forth in § 507(a) and § 507(b). Payments of equal
priority shall be made pro rata to holders of such claims. Priority claims arising under § 503(b)(2) shall be paid only after entry of
an order by the Bankruptcy Court approving payment of the claim. If this case is dismissed, no priority claim arising under
§ 503(b)(2) shall be allowed unless an application for allowance is filed on or before 21 days after entry of the order of
dismissal.


 Name of Holder                                             Amount of         Interest        Amount of           First           Last
 of Priority Claim                                           Priority           Rate          Estimated         Payment         Payment
                                                             Claim             Under           Periodic          of this         of this
                                                                                Plan          Payment           Amount          Amount
                                                                                                                   in              in
                                                                                                                Month #         Month #

Malaise Law Firm                                                  $3,155.00       0.00%            Pro-Rata             1            56

A priority claim of $100.00 is allowed to Debtor(s)' counsel if

(i) a proposed wage order was filed on the petition date for Debtor(s) earning a wage or salary; or,

(ii) if the Debtor(s) are retired, self-employed, or unemployed or if the proposed wage order is insufficient to provide the full
monthly plan payment, a proposed Electronic Funds Transfer Certification or ACH Certification was filed on the petition date. No
application or further order is required. The $100.00 allowance is in addition to any amounts otherwise awarded by the Court.


3. Secured Claims for which Collateral is to be Surrendered upon Confirmation. The Debtor(s) surrender the following
collateral:

 Name of Creditor                                        Description of Collateral

Upon confirmation of this Plan, the Debtor(s) immediately surrender and abandon the property and agree to immediately turn
over and/or vacate the property, and the lienholder(s) may take any action allowed under applicable law with respect to this
property without further order of the Court.

4. Secured Claim For Claim Secured Only by a Security Interest in Real Property that is the Debtor(s)' Principal Residence
(Property to be Retained). For each such claim, utilize either A, B, or C, below:

     A. The following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence. The amount listed as the "Principal Amount of Claim
for Arrearage" is the amount proposed by the Debtor(s) in this Plan. If the actual allowed claim is in a different amount, the
amount paid pursuant to this Plan shall be the amount due on the actual amount of the allowed claim without the need of an
amended plan. The amount listed as "Amount of Estimated Periodic Payment" will be adjusted to reflect the actual amount of
the allowed claim without the need of an amended plan.


 Name of Holder of Secured Claim /                           Principal        Interest         Amount             First           Last
 Security for Claim                                         Amount of           Rate              of            Payment         Payment
                                                            Claim for          Under          Estimated          of this         of this
                                                            Arrearage           Plan           Periodic         Amount          Amount
                                                                                              Payment              in              in
                                                                                                                Month #         Month #


Propel Financial Services, LLC                                    $6,170.07     15.90%             Pro-Rata             1            56
Homestead

Payment of the arrearage amounts shall constitute a cure of all defaults (existing as of the petition date) of the Debtor(s)'
obligations to the holder of the secured claim.
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Debtor(s):    Norma Lee Munoz


The Secured Claims held by secured creditors holding a claim secured only by a security interest in real property that is the
Debtor(s)' residence (other than the arrearage claims set forth in the above table) will be paid in accordance with the pre-petition
contract held by the holder of the secured claim. The first such payment is due on the first payment due date under the
promissory note (after the date this bankruptcy case was filed). During the term of the plan, these payments will be made
through the chapter 13 trustee in accordance with the Home Mortgage Payment Procedures adopted pursuant to Bankruptcy
Local Rule 3015(b). Each holder of a claim that is paid pursuant to this paragraph must elect to either (i) apply the payments
received by it to the next payment due without penalty under the terms of the holder's pre-petition note; or (ii) waive all late
charges that accrue after the order for relief in this case. Any holder that fails to file an affirmative election within 30 days of entry
of the order confirming this plan has waived all late charges that accrue after the order for relief in this case. Notwithstanding the
foregoing, the holder may impose a late charge that accrues following an event of default of a payment due under paragraph 1 of
this Plan.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

The Debtor(s) must provide the information required by the chapter 13 trustee pursuant to the Home Mortgage Payment
Procedures, prior to 7 days after the date this Plan is proposed.

     B. The holder of the claim secured only by a security interest in real property that is the Debtor(s)' principal residence has
agreed to refinance the security interest and claim on the terms set forth on the document attached as Exhibit "A". The
refinancing brings the loan current in all respects. The terms of the loan that is being refinanced and the new loan are
described below:

                                                                        Old Loan                                  New Loan
 Current amount owed on old loan and total
 amount borrowed on new loan

 Interest rate is fixed or variable?

 Interest rate (in %)

 Monthly principal and interest payment

 Closing costs paid by debtors

 Monthly required escrow deposit


Payments made to the above referenced holder will be paid (check one, ONLY if Debtor(s) have checked option B, above):

             Through the chapter 13 trustee.
             Directly to the holder of the claim, by the Debtor(s). If there has been a default in payments following the refinancing,
             future payments will be through the chapter 13 trustee. If payments are to be made directly to the holder of the claim
             by the Debtor(s), then the holder of the claim may not impose any attorneys fees, inspection costs, appraisal costs or
             any other charges (other than principal, interest and escrow) if such charges arose (in whole or in part) during the
             period (i) when the case is open; (ii) after the closing of the refinanced loan; and (iii) prior to a modification of this plan
             (i.e., following a default by the Debtor(s) in payments to the holder of the claim) pursuant to which the Debtor(s)
             commence payments through the chapter 13 trustee to the holder of the claim secured solely by a security interest in
             the Debtor(s)' principal residence.
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Debtor(s):    Norma Lee Munoz


      C. The following table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
security interest in real property that is the Debtor(s)' principal residence. The Debtor(s) allege that the total amount of debt
secured by liens that are senior in priority to the lien held by
exceeds the total value of the principal residence. Accordingly, the claim will receive (i) no distributions as a secured claim; and
(ii) distributions as an unsecured claim only in accordance with applicable law.

Upon the Debtor(s)' completion of all payments set forth in this plan, the holder of the lien is required to execute and record a full
and unequivocal release of its liens, encumbrances and security interests secured by the principal residence and to provide a
copy of the release to the Debtor(s) and their counsel. Notwithstanding the foregoing, the holder of a lien that secures post-
petition homeowners' association fees and assessments will be allowed to retain its lien, but only to secure (i) post-petition
assessments; and (ii) other post-petition amounts, such as legal fees, if such other post-petition amounts are (x) incurred with
respect to post-petition fees and assessments; and (y) approved by the Court, if incurred during the pendency of the bankruptcy
case.

             Name of Holder of Lien to which this
             provision applies
             Address of Principal Residence
             Debtor(s)' Stated Value of Principal
             Residence

             Description of all Liens Senior in                         Estimated Amount
             Priority (List Holder and Priority)                        Owed on This Lien




                                        Total Owed--All Senior Liens

This paragraph 4C will only be effective if the debtor(s) do each of the following:

    •    Mail a "Lien Stripping Notice", in the form set forth on the Court's website, to the holder of the lien that is governed by
         this paragraph 4C. The Lien Stripping Notice must be mailed in a separate envelope from any other document.


    •    File a certificate of service reflecting that the Lien Stripping Notice was mailed by both certified mail, return receipt
         requested and by regular US mail to the holder of the lien at all of the following addresses, with the mailings occurring
         not later than 30 days prior to the hearing on this plan:

                °    The address for notices shown on any proof of claim filed by the holder.

                °    Any attorney representing the holder who has filed a request for notice in this bankruptcy case.

                °    If no address for notices is given on a proof of claim filed by the holder, on the last known address of the holder.

                °    If the holder did not file a proof of claim, service must be in accordance with Fed. R. Bankr. P. 7004.
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Debtor(s):   Norma Lee Munoz


5. Debt Incurred within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or Debt Incurred within
1 Year Preceding Petition Date and Secured by Other Collateral for Which FULL PAYMENT, with Interest, is Provided.
The following table sets forth each class of secured creditors holding a claim for a debt incurred within 910 days preceding the
petition date and secured by a lien on a motor vehicle or for a debt incurred within 1 year preceding the petition date and secured
by other collateral for which full payment is proposed. The amount listed as "Principal Amount of Claim" is an estimate of the
actual allowed claim.

If the Court allows a claim in a different amount than is shown below under "Principal Amount of Claim", the Plan shall be
deemed amended to pay the principal amount as allowed without the requirement of the filing of an amended plan. The amount
listed as "Estimated Periodic Payment" will be adjusted to reflect the actual amount of the allowed claim.

Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this plan is confirmed)
of the Debtor(s)' obligations to the holder of the secured claim. If the monthly payment in the proposed plan is less than the
amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly adequate
protection payment.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

Each secured claimant is hereby designated to be in a class by itself. Subject to disposition of a timely filed motion to avoid a
lien under § 522, or a complaint to determine the extent or validity of a lien filed under Fed. R. Bankr. P. 7001, each secured
creditor shall retain the lien securing its claim. The lien shall be enforceable to secure payment of the claim the lien secures, as
that claim may be modified by the plan. The holder of a claim secured by a valid lien may enforce its lien only pursuant to § 362.

 Name of Holder of Secured Claim /                         Principal         Interest           Amount            First          Last
 Security for Claim                                       Amount of            Rate                of           Payment        Payment
                                                            Claim             Under            Estimated         of this        of this
                                                                               Plan             Periodic        Amount         Amount
                                                                                               Payment             in             in
                                                                                                                Month #        Month #


6. Debt Incurred within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or Debt Incurred within
1 Year Preceding Petition Date and Secured by Other Collateral for Which LESS THAN Full Payment, with Interest, is Provided.
The following table sets forth each class of secured creditors holding a claim for a debt incurred within 910 days preceding the
petition date and secured by a lien on a motor vehicle or for a debt incurred within 1 year preceding the petition date and secured
by other collateral for which less than full payment is proposed. The amount listed as "Principal Amount of Claim" is an
estimate of the actual allowed claim. The amount that will be paid under the plan is the amount, with interest, that pays the
lesser of (i) the amount listed in the holder's proof of claim; or (ii) the amount listed as "Amount of Claim to be Paid Under Plan"
(the Amount of Claim to be Paid Under Plan will NOT be adjusted to reflect the actual Allowed Amount of the Claim).

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

Each secured claimant is hereby designated to be in a class by itself. Subject to disposition of a timely filed motion to avoid a
lien under § 522, or a complaint to determine the extent or validity of a lien filed under Fed. R. Bankr. P. 7001, each secured
creditor shall retain the lien securing its claim. The lien shall be enforceable to secure payment of the claim the lien secures, as
that claim may be modified by the plan. The holder of a claim secured by a valid lien may enforce its lien only pursuant to § 362.

 Name of Holder of Secured Claim /                 Principal       Amount of            Interest    Amount of         First       Last
 Security for Claim                               Amount of        Claim to be            Rate      Estimated         Pmt.        Pmt.
                                                    Claim          Paid under            Under       Periodic        of this     of this
                                                                       Plan               Plan       Payment          Amt.        Amt.
                                                                                                                       in          in
                                                                                                                     Month       Month
                                                                                                                        #           #
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Debtor(s):   Norma Lee Munoz


7. Secured Debts Paid in Accordance with Pre-Petition Contract (Use Only for Contracts on Which There is No Default).
The Debtor(s) represent that there are no payment defaults on the contracts listed in this paragraph. The secured claims held
by the following secured creditors will be paid in accordance with the pre-petition contracts between the Debtor(s) and the holder
of the secured claim:

 Name of Holder /                                                                 Total Claim     Collateral Value         Contract
 Collateral for Claim                                                                                                   Interest Rate


Citifinancial                                                                        $64,582.85         $94,857.00              0.00%
HOMESTEAD

Hidalgo County                                                                        $1,939.00         $94,857.00              0.00%
HOMESTEAD - 2015 TAXES

Sharyland I.S.D.                                                                          $0.00         $94,857.00              0.00%
HOMESTEAD - 2015 TAXES

South Texas College                                                                       $0.00         $94,857.00              0.00%
HOMESTEAD - 2015 TAXES

South Texas I.S.D.                                                                        $0.00         $94,857.00              0.00%
HOMESTEAD - 2015 TAXES

8. All Other Secured Claims (Property to be Retained). Each secured claimant is hereby designated to be in a class by itself.
Subject to disposition of a timely filed motion to avoid a lien under § 522, or a complaint to determine the extent or validity of a
lien filed under Fed. R. Bankr. P. 7001, each secured creditor shall retain the lien securing its claim. The lien shall be
enforceable to secure payment of the claim the lien secures, as that claim may be modified by the plan. The holder of a claim
secured by a valid lien may enforce its lien only pursuant to § 362.

The following table sets forth the treatment of each class of secured creditors whose claims are modified by the Plan. The
amount of secured claim to be paid under this plan is the lesser of the amount listed below as the "Collateral Value" and the
allowed amount of the holder's claim. If the Court allows a different amount than is shown below, the Plan shall be deemed
amended without the requirement of the filing of an amended plan. The amount listed as "Estimated Amount Periodic
Payment" will be adjusted to reflect the actual amount of the allowed claim.

 Name of Holder of Secured Claim /                 Principal         Collateral           Int.        Est.            First      Last
 Security for Claim                               Amount of           Value              Rate        Amount           Pmt.       Pmt.
                                                    Claim                                per         Periodic        of this    of this
                                                   (without                              Plan         Pmt.            Amt.       Amt.
                                                  regard to                                                            in         in
                                                   Value of                                                          Month      Month
                                                  Collateral)                                                           #          #

Hidalgo County                                      $7,059.63          $7,059.63         12.00%          Pro-Rata         1         56
HOMESTEAD - 2012-2014 TAXES                         Pay Claim
Hidalgo County                                        $285.00            $285.00         12.00%          Pro-Rata         1         56
COURT COSTS                                         Pay Claim
Lack's Valley Stores, Ltd.                            $595.98            $700.00          5.25%          Pro-Rata         1         56
TABLE AND 4 CHAIRS                                  Pay Claim
Sharyland I.S.D.                                        $0.00               $0.00        12.00%          Pro-Rata
2012-2014 Included in Hidalgo County POC            Pay Claim
South Texas College                                     $0.00               $0.00        12.00%          Pro-Rata
2012-2014 Included in Hidalgo County POC            Pay Claim
South Texas I.S.D.                                      $0.00               $0.00        12.00%          Pro-Rata
2012-2014 Included in Hidalgo County POC            Pay Claim
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Debtor(s):   Norma Lee Munoz


Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this plan is confirmed)
of the Debtor(s)' obligations to the holder of the secured claim. If the monthly payment in the proposed plan is less than the
amount of the adequate protection payment ordered in this case, the actual payment will be the amount of the monthly adequate
protection payment.

The automatic stay is modified to allow holders of secured claims to send only monthly statements (but not demand letters) to
the Debtor(s).

9. Specially Classified Unsecured Claims. The following unsecured claims will be treated as described below:

 Name of Unsecured Creditor                                Treatment

10. Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 9 above shall
comprise a single class of creditors. Allowed claims under this paragraph shall be paid a pro rata share of the amount remaining
after payment of all secured, priority, and specially classified unsecured claims. The Debtor(s) estimate that these unsecured
creditors will receive a ____________________
                              6%                    dividend.

11. Executory Contracts. Except as set forth elsewhere in this Plan or in the following sentence, all executory contracts are rejected.
The following contracts are assumed:

12. Asset Sales. The Debtor(s) are authorized--without the need for further Court order--to sell their exempt property in accordance
with the following sentence. Any such sale shall provide for the full payment, at closing, of all liens on the property that is sold. If
the Debtor(s) request and the Court so determines, an order confirming this authority may be granted by the Court, ex parte.

13. Surrender of Collateral during the Plan Period. The Debtor(s) may surrender collateral to a secured creditor after
confirmation of the Plan by filing a motion pursuant to Fed. R. Bankr. P. 4001 for an agreed order providing for surrender of
collateral and termination of the automatic stay. The motion will be submitted on 14 days notice. Upon the entry of an order
approving the surrender, the Debtor(s) will immediately turn over and/or vacate the property, and the lienholder(s) may take any
action allowed under applicable law with respect to this property without further order of the Court.

14. Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in accordance with § 1328. Property of the
estate shall vest in the debtors upon entry of the discharge order.
15. Plan Not Altered from Official Form. By filing this plan, Debtor(s) and their counsel represent that the plan is in the official
form authorized by the Court. There are no addenda or other changes made to the official form.
16. Additional Provisions. [If an additional provision is requested, the Debtor(s) must simultaneously file a motion seeking
approval for the inclusion of the additional provision].
None.
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Debtor(s):    Norma Lee Munoz


Debtor's Declaration Pursuant to 28 U.S.C. § 1746
I declare under penalty of perjury that the foregoing statements of value contained in this document are true and correct.



Dated:       2/10/2015


/s/ Norma Lee Munoz
Norma Lee Munoz




/s/ EDUARDO V. RODRIGUEZ
EDUARDO V. RODRIGUEZ
Malaise Law Firm
1265 N. Expressway 83
Brownsville, TX 78520
Attorney for Debtor(s)
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Debtor(s):   Norma Lee Munoz


                                                    FIRST AMENDED 2/10/2015
                           Plan Summary and Statistical Cover Sheet to Proposed Plan
                                          Date:               2/10/2015
                                (Date Should be Date that this Proposed Plan is Signed by Debtor)
                                               Disposable Income and Plan Payments
       Projected            Projected          Projected         Beginning       Ending              Payment               Total
     Schedule "I"        Schedule "J"         Disposable         Month #*        Month #             Amount               Payment
        Income             Expenses             Income
    (as shown on         (as shown on
    most recently        most recently
   filed Schedule       filed Schedule
           I)                   J)

     $2,161.97            $1,600.96            $561.01           1 (Jan 15)      1 (Jan 15)               $540.00               $540.00
                                                                 2 (Feb 15)     47 (Nov 18)               $560.00            $25,760.00
                                                                48 (Dec 18)     60 (Dec 19)               $793.00            $10,309.00
                                                                                                    Grand Total              $36,609.00
                                                                                                    Less Posted
                                                                                                    Chapter 13                $3,660.90
                                                                                                   Trustee Fee**

                                                                                                   Net Available             $32,948.10

                               Projected Trustee Disbursements to Priority and Secured Creditors
 Name of Holder /                                  Type of Claim        Int.     Beg.       End          Payment             Total
 Description of Collateral (or "None" if            (List Priority     Rate      Month     Month         Amount             Payment
 appropriate)                                         Claims,                      #         #
                                                    Followed by
                                                       Claims
                                                      Secured
                                                    by Principal
                                                    Residence,
                                                    Followed by
                                                   Other Secured
                                                       Claims)

 Malaise Law Firm                         Priority                      0.00%          1       56           Pro-Rata          $3,155.00
 None
 Propel Financial Services, LLC           Principal Res.                0.00%          1       60              $127.11        $7,626.60
 Homestead 2nd Lien
 Propel Financial Services, LLC           Principal Res.               15.90%          1       56           Pro-Rata          $9,069.54
 Homestead                                (Arrearage)
 Hidalgo County                           Secured                      12.00%          1       56           Pro-Rata          $9,404.30
 HOMESTEAD - 2012-2014 TAXES              (Arrearage)
 Hidalgo County                           Secured                      12.00%          1       56           Pro-Rata            $379.63
 COURT COSTS
 Lack's Valley Stores, Ltd.               Secured                       5.25%          1       56           Pro-Rata            $673.57
 TABLE AND 4 CHAIRS
 Sharyland I.S.D.                         Secured                      12.00%                               Pro-Rata               $0.00
 2012-2014 Included in Hidalgo County POC (Arrearage)
 South Texas College                      Secured                      12.00%                               Pro-Rata               $0.00
 2012-2014 Included in Hidalgo County POC (Arrearage)
 South Texas I.S.D.                       Secured                      12.00%                               Pro-Rata               $0.00
 2012-2014 Included in Hidalgo County POC (Arrearage)


* If filed in connection with a modification, the first month listed must be the first month in which the debtor was required to make
a payment after filing the bankruptcy petition. All previous payments and proposed payments must be included.

** The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court's website.
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Debtor(s):   Norma Lee Munoz


                                                                                  Grand Total       $30,308.64

                      SUMMARY OF PAYMENTS                                    BEST INTEREST TEST
 Net Available to Creditors                        $32,948.10   Value of total non-exempt
                                                                property                                 $0.00
 Less Estimated Attorneys' fees                     $3,155.00
 Less Total to Priority Creditors                       $0.00   Total distributions to all
 Less Total to Secured Creditors                   $27,153.64   priority and general                 $5,794.46
                                                                unsecured creditors
 Net Available for Unsecured Creditors              $2,639.46
 Estimated General Unsecured Claims                $42,694.93
 Forecast % Dividend on General Unsecured Claims          6%
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          MCALLEN DIVISION

IN RE:                                                §                    CASE NO. 14-70685-M-13
                                                      §
Norma Lee Munoz                                       §
       DEBTOR(S)                                      §                    CHAPTER 13

                                            CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing FIRST AMENDED CHAPTER 13 PLAN was
served on the date that it was filed electronically. Service was accomplished by regular mail, unless otherwise
requested by electronic mailing, to the following:

Trustee:
Cindy Boudloche, Chapter 13 Trustee                       U.S. Trustee
555 N. Carancahua, Suite 600                              606 N. Carancahua, Suite 1107
Corpus Christi, TX 78478                                  Corpus Christi, Texas 78401

Debtor(s):
Norma Lee Munoz
311 South Glasscock
Alton, TX 78573

and to all creditors shown on attached matrix.

                                                          MALAISE LAW FIRM
                                                          1265 North Expressway 83
                                                          Brownsville, Texas 78521-2284
                                                          (956) 547-9638
                                                          (956) 547-9630 – facsimile


                                                          /s/ Eduardo V. Rodriguez
                                                          Eduardo V. Rodriguez
                                                          FED ID NO. 19945; TBN. 00795621
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 Debtor(s): Norma Lee Munoz             Case No: 14-70685-M-13                  SOUTHERN DISTRICT04:57:45pm
                                                                                      02/10/2015  OF TEXAS
                                         Chapter: 13                                      MCALLEN DIVISION


Annabelle Rodriguez                   Harrison & Duncan PLLC            Personal Credit Plan
2102 Granite Ave.                     8700 Crownhill Blvd., Ste. 505    501 S Bicentennial Blvd
Mission, TX 78572                     San Antonio, TX 78209             Mcallen, TX 78501



Bank of America                       Hidalgo County                    Propel Financial Services, LLC
P.O. Box 15284                        c/o Diane W. Sanders              P.O. Box 100350
Wilmington, DE 19850                  Linebarger Goggan Blair et al     San Antonio, TX 78201
                                      P.O. Box 17428
                                      Austin, TX 78760-7428

Citifinancial                         Jeanne E. Holmes                  Pushpin Holdings LLC
300 Saint Paul Pl                     LAW OFFICE OF JEANNE E. HOLMS     1 Penn Plaza Box #6255
Baltimore, MD 21202                   A Professional Corporation        New York, NY 10119
                                      212 W. Nolana Loop
                                      McAllen, TX 78504-2513

Convergent Healthcare Recoveries, Lack's
                                   Inc. Valley Stores, Ltd.             Quantum3 Group LLC as agent for
124 SW Adams St., Ste. 215        Attn: Credit Department               Comenity Bank
Peoria IL 61602                   1300 San Patricia Dr.                 P.O. Box 788
                                  Pharr, TX 78577                       Kirkland, WA 98083-0788


Doctors Hospital at Renaissance       Linebarger Goggan Blair & Sampson,
                                                                       Samuel
                                                                         LLP T. Garcia M.D. & Associates
5501 S. McColl Rd.                    c/o Diane W. Sanders             4115 Pecan Blvd., Suite B.
Edinburg, TX 78539-9152               P.O. Box 17428                   McAllen, TX 78501
                                      Austin, TX 78760-7428


Erica Mancha                          Malaise Law Firm                  Santander Consumer Usa
6443 W. 8 Mile Rd.                    1265 N. Expressway 83             PO Box 961245
Mission, TX 78573                     Brownsville, TX 78520             Ft Worth, TX 76161



EZ Money Loan Services                MRS Associates, Inc.              Security Finance
2121 Nolana St.                       1930 Olney Ave.                   1304 S. Alton Boulevard
McAllen, TX 78504                     Cherry Hill, NJ 08003             Alton, TX 78573



Ford Motor Credit Corporation         NCP Finance Limited Partnership   Sharyland I.S.D.
Ford Motor Credit                     205 Sugar Camp Circle, Dept EZ    Diane W. Sanders
PO Box 6275                           Dayton, OH 45409                  Linebarger, Goggan, Blair & Sampso
Dearborn, MI 48121                                                      P.O. Box 17428
                                                                        Austin, TX 78760-7428

Gerardo E. Mancha                     Noelia Rodriguez                  South Texas College
311 S. Glasscock Rd.                  620 N 49                          c/o Diane W. Sanders
Alton, TX 78573                       McAllen, TX 78501                 Linebarger Goggan Blair & Sampson,
                                                                        P.O. Box 17428
                                                                        Austin, TX 78760-7428

GERARDO MANCHA                        OneMain Financial                 South Texas I.S.D.
311 S. GLASSCOCK BLVD.                PO Box 70911                      c/o Diane W. Sanders
ALTON, TX 78573                       Charlotte NC 28272                Linebarger Goggan Blair & Sampson,
                                                                        P.O. Box 17428
                                                                        Austin, TX 78760
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 Debtor(s): Norma Lee Munoz             Case No: 14-70685-M-13                SOUTHERN DISTRICT04:57:45pm
                                                                                    02/10/2015  OF TEXAS
                                         Chapter: 13                                    MCALLEN DIVISION


Susie Rodriguez
2102 Granite Ave.
Mission, TX 78573



Teofilo Mancha
3004 N. Glasscock
Mission, TX 78572



Valley Heart Consultants
1200 E. Savannah, Ste 7
McAllen, TX 78503



World Finance
2401 Pecan Blvd., Suite G
McAllen, TX 78501
